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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                             CASE NO. 19-62208-CIV-ALTMAN/Hunt

  CHARLES GREENBERG,

         Plaintiff,
  v.

  THE KEYES COMPANY,

        Defendant.
  _____________________________________/

                                    ORDER OF DISMISSAL

         THIS MATTER comes before the Court on the parties’ Joint Stipulation of Dismissal

  with Prejudice (“Stipulation”) [ECF No. 36]. The parties seek a dismissal of this action with

  prejudice pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii). The Court notes that the

  Stipulation is self-executing. Accordingly, the Court hereby DISMISSES this case with

  prejudice. This action shall remain closed, and any pending motions are DENIED as moot.

         DONE AND ORDERED in Fort Lauderdale, Florida, this 11th day of May 2020.




                                                       __________________________________
                                                       ROY K. ALTMAN
                                                       UNITED STATES DISTRICT JUDGE

  cc:    counsel of record
